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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                                                          )
   FEDERAL TRADE COMMISSION,                              )
                                                          )   Case No. : 8-14-cv-2153-T27-
          Plaintiff,                                      )   EAJ
                                                          )
   v.                                                     )   FIRST AMENDED
                                                          )   COMPLAINT FOR
   SUN BRIGHT VENTURES LLC; CITADEL ID                    )   PERMANENT INJUNCTION
   PRO LLC; BENJAMIN TODD WORKMAN;                        )   AND OTHER EQUITABLE
   TRIDENT CONSULTING PARTNERS LLC; and                   )   RELIEF
   GLENN ERIKSON,                                         )
                                                          )
          Defendants.                                     )
                                                          )
                                                          )

          Plaintiff, the Federal Trade Commission (“FTC” or “Commission”) alleges:

          1.      The FTC brings this action under Sections 13(b) and 19 of the Federal Trade

   Commission Act (“FTC Act”), 15 U.S.C. § 53(b) and 57b, and the Telemarketing and

   Consumer Fraud and Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C. §§ 6101-08, to
   obtain temporary, preliminary, and permanent injunctive relief, rescission or reformation of

   contracts, restitution, refund of monies paid, disgorgement of ill-gotten monies, and other

   equitable relief for Defendants’ acts or practices in violation of Section 5(a) of the FTC Act,

   15 U.S.C. § 45(a), and in violation of the FTC’s Telemarketing Sales Rule (“TSR”), 16

   C.F.R. Part 310.

                                  JURISDICTION AND VENUE

          2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

   1337(a), and 1345, and 15 U.S.C. §§ 45(a), 53(b), 6102(c), and 6105(b).

          3.      Venue is proper in this District under 28 U.S.C. §§ 1391(b)(2), (b)(3), (c)(1),

   (c)(2), (d), and 15 U.S.C. § 53(b).
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                                    SUMMARY OF THE CASE

          4.        Defendants targeted seniors using deceptive telemarketing calls to withdraw

   money from their bank accounts without authorization. Defendants obtained consumers’

   bank account information by misrepresenting their affiliation with the United States

   government and offering consumers free products or services. Using remotely created

   checks, defendants then illegally debited consumers’ bank accounts. Consumers often

   learned of these unauthorized debits only after noticing them on their bank statements.

   Defendants made millions of dollars in unauthorized debits without providing consumers
   with any product or service in exchange.

                                             PLAINTIFF

          5.        The FTC is an independent agency of the United States Government created

   by statute. 15 U.S.C. §§ 41-58. The FTC enforces, inter alia, Section 5(a) of the FTC Act,

   15 U.S.C. § 45(a), which prohibits unfair and deceptive acts or practices in or affecting

   commerce, and the Telemarketing Act, 15 U.S.C. §§ 6101-6108, and the TSR, which

   prohibits deceptive and abusive telemarketing acts or practices.

          6.        The FTC is authorized to initiate federal district court proceedings by its own

   attorneys, to enjoin violations of the FTC Act and the TSR, and to secure such equitable

   relief as may be appropriate in each case, including rescission or reformation of contracts,

   restitution, the refund of monies paid, and the disgorgement of ill-gotten monies. 15 U.S.C.

   §§ 53(b), 56(a)(2)(A), 56(a)(2)(B), 57b, 6102(c), and 6105(b).

                                           DEFENDANTS

          7.        Defendant Sun Bright Ventures LLC (“Sun Bright Ventures”) is a Florida

   limited liability company with its principal place of business in Riverview, Florida. Sun

   Bright Ventures transacts or has transacted business in this District and throughout the

   United States.


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          8.        Defendant Citadel ID Pro LLC (“Citadel ID Pro”), is a Florida limited liability

   company with its principal place of business at 4511 North Himes Avenue, Suite 200,

   Tampa, Florida. Citadel ID Pro transacts or has transacted business in this District and

   throughout the United States.

          9.        Defendant Benjamin Todd Workman (“Workman”) is a resident of Riverview,

   Florida. He is the Managing Member of Sun Bright Ventures and Citadel ID Pro. At times

   material to this Complaint, acting alone or in concert with others, he has formulated, directed,

   controlled, had the authority to control, or participated in the acts and practices of Sun Bright
   Ventures and Citadel ID Pro. Workman resides in this District and in connection with the

   matters alleged herein, transacts or has transacted business in this District and throughout the

   United States.

          10.       Defendant Trident Consulting Partners LLC (“Trident Consulting”) is a

   Florida limited liability company with its principal place of business at 701 South Howard

   Avenue, Suite 106-319, Tampa, Florida. Trident Consulting transacts or has transacted

   business in this District and throughout the United States.

          11.       Defendant Glenn Erikson (“Erikson”) is a resident of Tampa, Florida. He is

   the sole member of Trident Consulting. At times material to this Complaint, acting alone or

   in concert with others, he has formulated, directed, controlled, had the authority to control, or

   participated in the acts and practices of Trident Consulting. Erikson resides in this District

   and in connection with the matters alleged herein, transacts or has transacted business in this

   District and throughout the United States.

                                            COMMERCE

          12.       At all times relevant to this Complaint, Defendants have maintained a

   substantial course of trade in the offering for sale and the sale of goods or services via




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   telephone, in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act,

   15 U.S.C. § 44.

                            DEFENDANTS’ BUSINESS PRACTICES

           13.     Beginning in September 2013, Defendants debited consumers’ bank accounts

   without consumers’ express informed consent, and sometimes without their knowledge.

   Since September 2013, Defendants have deposited more than $3 million into their own bank

   accounts by illegally debiting the bank accounts of thousands of consumers, many of whom

   are senior citizens.
           14.     Defendants engaged in a deceptive telemarketing campaign to obtain

   consumers’ personal bank account information, including their bank account and routing

   numbers.

           15.     Defendants’ representatives often called consumers with whom they had no

   existing business relationship and whose telephone numbers are on the National Do Not Call

   Registry.

           16.     In some instances, Defendants debited consumers’ bank accounts without

   having any communications with them at all.

           17.     During a typical telemarketing call, Defendants’ representatives made several

   false representations. In numerous instances, they misrepresented that they were calling on

   behalf of, or were affiliated with, Medicare, a United States government program.

           18.     In numerous instances, Defendants’ representatives stated that, because of

   new changes to health care, they were providing consumers with a new Medicare card, or a

   package of information related to their Medicare benefits. In fact, Defendants did not

   provide consumers with any products or services related to Medicare or any other medical

   benefits, nor did they provide any identity theft product or service.

           19.     During these calls, Defendants’ representatives asked consumers for their


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   personal information, including their name, address, and bank account information. In

   numerous instances, the representatives implied or stated that they already had the

   consumer’s information, and that they were “confirming” this information in order to verify

   consumers’ identities.

          20.     In numerous instances, Defendants’ representatives also mislead consumers as

   to the cost of their purported products and services. These representatives typically did not

   disclose that consumers’ bank accounts would be debited, and in numerous instances, they

   stated that there was no cost for their services. Defendants’ representatives also engaged in
   similar conduct under the guise of offering consumers an identity theft protection service.

          21.     In some instances, Defendants’ representatives also implied that consumers

   had to give this information in order to continue receiving their Medicare benefits. In truth,

   Defendants had no way of knowing or impacting the status of consumers’ Medicare benefits.

          22.     Based on these misrepresentations, consumers felt pressured to provide the

   requested information, including their bank account numbers. Some consumers believed that

   the Defendants already had their personal information and were unaware that their bank

   accounts would be debited.

          23.     In some cases, Defendants’ representatives made a recording of the consumer

   providing their personal information. In numerous instances, Defendants made false and

   misleading statements to induce consumers to disclose this information. For example,

   Defendants misrepresented that the products and services were free, that Defendants would

   not debit consumers’ accounts, and that the consumers’ information would be used only to

   verify their identity. Furthermore, in the recordings, consumers typically did not expressly

   authorize their bank accounts to be debited.

          24.     Within a few weeks of speaking with Defendants’ representatives, consumers

   often discovered that their bank accounts had been debited for approximately $448 through a


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   remotely created check (“RCC”).

          25.     An RCC is a form of payment that serves the same function as a traditional

   check drawn on an account at a bank. Traditional checks require the signature of the

   authorized signatory on the checking account (the payor), which must be verified by the

   paying bank. By contrast, an RCC is an unsigned check that is created by the payee. In

   place of the payor’s signature, the RCC bears a statement indicating that the account holder

   authorized the check, such as “Pre-Authorized Check, No Signature Required,” or “This draft

   is preauthorized by your depositor, no signature required.”
          26.     Many merchants use as a payment mechanism debits processed through the

   Automated Clearing House (“ACH”) network. Debits processed through the ACH network,

   a nationwide inter-bank electronic network, are subject to the monitoring and operating rules

   of NACHA – The Electronic Payments Association (“NACHA”), a private self-regulatory

   trade association. NACHA closely monitors electronic transactions processed through the

   ACH network. Among other things, NACHA monitors the levels at which attempted debits

   are returned by consumers or their banks back through the network.

          27.     In recent years, fraudulent merchants have increasingly migrated to the use of

   other, less monitored, payment alternatives, such as RCCs. RCCs clear through the regular

   check clearing system. However, because RCCs are not subject to the kind of monitoring

   and oversight that ACH transactions are subject to by NACHA, they have become an

   attractive payment mechanism for merchants engaged in unauthorized debiting of consumer

   accounts.

          28.     As part of their scam, Defendants created RCCs in consumers’ names made

   out to one of the corporate Defendants. Defendants then deposited the RCCs into their bank

   accounts. Defendants’ banks then debited the consumers’ bank accounts for the specified

   amount. Consumers were not notified of the impending debit.


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           29.     In some instances, Defendants debited consumers’ bank accounts without

   calling consumers at all. These consumers’ accounts were debited despite the fact that they

   had never spoken to or even heard of Defendants or their representatives.

           30.     The RCCs that Defendants created sometimes contained a memo line

   indicating that consumers were paying for “ID Theft Protection/Medical Benefits.”

   However, many consumers never discussed any kind of identity theft protection or medical

   benefits service with Defendants. And many, if not all, consumers whose bank accounts

   Defendants debited received no identity theft protection or medical benefits.
           31.     In numerous instances, consumers, many of whom are seniors, and some of

   whom suffer from dementia or other cognitive impairments, did not notice Defendants’

   unauthorized debits on their bank statements.

           32.     Consumers who did notice the debits often attempted to complain to, and

   sought refunds directly from, Defendants. Many consumers were never able to get in touch

   with Defendants, or were told they must call back after they had received their package of

   information. Some consumers were told that a refund would be processed, but it never came.

           33.     Other consumers who noticed the debits complained to their own banks. In

   response to such complaints, banks can reject or reverse the debit. Such a rejection or

   reversal is referred to as a “return.”

           34.     The “return rate” reflects the percentage of all returns out of the total number

   of attempted debits. High return rates for RCCs (or other similar debits) can be indicative of

   unlawful practices, such as unauthorized debiting of consumer accounts.

           35.     In determining what constitutes a “high” rate of return, a useful benchmark is

   the average industry rate of return in the ACH network. Currently, neither the banking

   industry nor the Federal Reserve Bank maintains specific information about the average

   industry return rates for RCCs.


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          36.      However, NACHA does keep track of the average industry return rates for

   ACH debits to consumer accounts, which is a comparable consumer payment mechanism.

   According to NACHA data, the 2013 ACH average return rate was 1.42% for all debit

   transactions.

          37.      Since September 2013, Defendants’ debits of consumers’ bank accounts have

   resulted in extremely high return rates. The initial bank Defendants used to deposit their

   debits recorded a return rate of 68% between September 2013 and January 2014. The bank

   subsequently terminated their relationship with Defendants.
                                VIOLATIONS OF THE FTC ACT

          38.      Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive

   acts or practices in or affecting commerce.”

          39.      Misrepresentations or deceptive omissions of material fact constitute

   deceptive acts or practices prohibited by Section 5(a) of the FTC Act. Acts or practices are

   unfair under Section 5 of the FTC Act if they cause or are likely to cause substantial injury to

   consumers that consumers cannot reasonably avoid themselves and that is not outweighed by

   countervailing benefits to consumers or competition. 15 U.S.C. § 45(n).

          COUNT I – Deceptive Representations Regarding Defendants’ Affiliation

          40.      In numerous instances, Defendants represented, directly or indirectly,

   expressly or by implication, that they were contacting the consumer from, or on behalf of, or

   are otherwise affiliated with, one or more United States government entities.

          41.      In truth and in fact, Defendants were not contacting the consumer from, or on

   behalf of, and are not otherwise affiliated with, any United States government entity.

          42.      Therefore, Defendants’ representations as set forth in Paragraph 40 of this

   Complaint were false and misleading and constituted a deceptive act or practice in violation

   of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).


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         COUNT II – Deceptive Representations Regarding the Need For and Use of

                                 Consumers’ Personal Information

          43.       In numerous instances, Defendants represented that they required consumers’

   personal information, including financial account information, to verify consumers’

   identities, and that this information would not be used to debit consumers’ bank accounts.

          44.       In truth and in fact, Defendants did not need consumers’ personal information

   for verification purposes and Defendants instead used this information to debit consumers’

   bank accounts.
          45.       Therefore, the making of the representation set forth in Paragraph 43 of this

   Complaint was false and misleading and constituted a deceptive act or practice in violation of

   Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                            COUNT III — Unfair Unauthorized Debits

          46.       In numerous instances, Defendants debited or caused the debiting of

   consumers’ bank accounts without the consumers’ authorization or express informed

   consent.

          47.       Defendants’ actions caused substantial injury to consumers that consumers

   could not reasonably avoid themselves and was not outweighed by countervailing benefits to

   consumers or competition.

          48.       Therefore, Defendants’ practices as described in Paragraph 46 of this

   Complaint constituted unfair acts or practices in violation of Section 5(a) of the FTC Act, 15

   U.S.C. §§ 45(a) and 45(n).

                 VIOLATIONS OF THE TELEMARKETING SALES RULE

          49.       Congress directed the FTC to prescribe rules prohibiting abusive and

   deceptive telemarketing acts or practices under the Telemarketing Act, 15 U.S.C. §§ 6101-

   6108. The FTC adopted the original TSR in 1995, extensively amended it in 2003, and


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    amended certain sections thereafter. 16 C.F.R. Part 310.

           50.     Defendants are “sellers[s]” or “telemarketer[s]” engaged in “telemarketing,”

    and Defendants have initiated, or caused telemarketers to initiate, “outbound telephone

    call[s]” to consumers to induce the purchase of goods or services, as those terms are defined

    in the TSR, 16 C.F.R. § 310.2 (aa), (cc), and (dd)

           51.     Under the TSR, an “outbound telephone call” means a telephone call initiated

    by a telemarketer to induce the purchase of goods or services or to solicit a charitable

    contribution. 16 C.F.R.§ 302(v).
           52.     The TSR prohibits sellers and telemarketers from misrepresenting, directly or

    by implication, in the sale of goods or services, any of the following material information:

                       a.     The total costs to purchase, receive, or use, and the quantity of, any

                              goods or services that are the subject of a sales offer. 16 C.F.R.

                              § 310.3(a)(2)(i);

                       b.     Any material aspect of the performance, efficacy, nature, or central

                              characteristics of goods or services that are the subject of a sales

                              offer. 16 C.F.R. § 310.3(a)(2)(iii); or

                       c.     A seller’s or telemarketer’s affiliation with, or endorsement or

                              sponsorship by, any person or government entity. 16 C.F.R.

                              § 310.3(a)(2)(vii).

           53.     The TSR prohibits any seller or telemarketer from causing billing information

    to be submitted for payment, or collecting or attempting to collect payment for goods or

    services or a charitable contribution, directly or indirectly, without the customer’s express

    verifiable authorization, except when the method of payment used is a credit card subject to

    protections of the Truth in Lending Act, 15 U.S.C. § 1601 et seq., and Regulation Z, 12

    C.F.R. § 226, or a debit card subject to the protections of the Electronic Fund Transfer Act,


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    15 U.S.C. § 1693 et seq., and Regulation E, 12 C.F.R. § 205. 16 C.F.R. § 310.3(a)(3). When

    an audio recording of the customer’s express oral authorization is used to satisfy this

    requirement, the TSR requires that the recording must clearly evidence the customer’s

    authorization of payment for the goods or services that are the subject of the telemarketing

    transaction and the customer’s receipt of all of the following information:

                       a.     The number of debits, charges, or payments (if more than one);

                       b.     the date(s) the debit(s), charge(s), or payment(s) will be submitted

                              for payment;
                       c.     the amount(s) of the debit(s), charge(s), or payment(s);

                       d.     the customer’s name;

                       e.     the customer’s billing information, identified with sufficient

                              specificity such that the customer understands what account will be

                              used to collect payment for the goods or services or charitable

                              contribution that are the subject of the telemarketing transaction;

                       f.     a telephone number for customer inquiry that is answered during

                              normal business hours; and;

                       g.     the date of the customer’s oral authorization.

    16 C.F.R. § 310.3(a)(3)(ii).

           54.     The TSR prohibits any seller or telemarketer from causing billing information

    to be submitted for payment, directly or indirectly, without the express informed consent of

    the customer. In any telemarketing transaction, the seller or telemarketer must obtain the

    express informed consent of the customer to be charged for the goods or services and to be

    charged using the identified account. 16 C.F.R. § 310.4(a)(7).




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           55.     The TSR prohibits telemarketers from initiating any outbound calls to a

    person when that person’s telephone number is on the Do Not Call Registry. 16 CFR

    310.4(b)(1)(iii)(B).

           56.     Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c), and

    Section 18(d)(3) of the FTC Act, 15 U.S.C. 57a(d)(3), a violation of the TSR constitutes an

    unfair or deceptive act or practice in or affecting commerce, in violation of Section 5(a) of

    the FTC Act, 15 U.S.C. § 45(a).

               COUNT IV – Misrepresenting Affiliation with a Government Entity
           57.     In numerous instances, in connection with the telemarketing of their purported

    goods or services, Defendants represented that they were affiliated with, or had the

    endorsement or sponsorship of Medicare, a United States government program.

           58.     In truth and in fact, Defendants had no affiliation with Medicare or any United

    States government entity, and were not endorsed or sponsored by any such entity.

           59.     Defendants’ misrepresentations, as alleged in Paragraph 57, constituted

    deceptive telemarketing acts or practices that violated Section 310.3(a)(2)(vii) of the TSR, 16

    C.F.R. § 310.3(a)(2)(vii).

                           COUNT V – Misrepresenting Material Aspects

           60.     In numerous instances, in connection with the telemarketing of their purported

    goods or services, Defendants misrepresented material aspects of the nature or central

    characteristics of the good or services offered.

           61.     Defendants’ misrepresentations, as alleged in Paragraph 60, constituted

    deceptive telemarketing acts or practices that violated Section 310.3(a)(2)(iii) of the TSR, 16

    C.F.R. §310.3(a)(2)(iii).

                      COUNT VI – Lack of Express Verifiable Authorization

           62.     In numerous instances, in connection with the telemarketing of their purported


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    goods or services, Defendants caused billing information to be submitted for payment using a

    payment method other than a credit card subject to the protections of the Truth in Lending

    Act, 15 U.S.C. § 1601 et seq., and Regulation Z, 12 C.F.R. § 226, or a debit card subject to

    the protections of the Electronic Fund Transfer Act, 15 U.S.C. § 1693 et seq., and Regulation

    E, 12 C.F.R. § 205, without the consumer’s express verifiable authorization.

           63.     Defendants’ failure to obtain express verifiable authorization, as alleged in

    Paragraph 62, constituted a deceptive telemarketing act or practice that violated Section

    310.3(a)(3) of the TSR, 16 C.F.R. § 310.3(a)(3).
                  COUNT VII – Lack of Express Informed Consent to Be Billed

           64.     In numerous instances, in connection with the telemarketing of their purported

    goods or services, Defendants caused billing information to be submitted for payment

    without the express informed consent of the consumer.

           65.     Defendants’ failure to obtain express informed consent to be billed, as alleged

    in Paragraph 64, constituted a deceptive telemarketing act or practice that violated Section

    310.4(a)(7) of the TSR, 16 C.F.R. § 310.4(a)(7).

       COUNT VIII – Calling Telephone Numbers on the National Do Not Call Registry

           66.     In numerous instances, in connection with the telemarketing of their purported

    goods or services, Defendants initiated, or caused others to initiate, an outbound telephone

    call to a person’s telephone number on the National Do Not Call Registry in violation of the

    TSR, 16 C.F.R. § 310.4(b)(1)(iii)(B).

           67.     Defendants’ conduct, as alleged in Paragraph 66, was an abusive

    telemarketing act or practice that violated Section 310.4(b)(1)(iii)(B) of the TSR, 16 C.F.R. §

    310.4(b)(1)(iii)(B).

                                       CONSUMER INJURY

           68.     Consumers have suffered substantial injury as a result of Defendants’


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    violations of Sections 5(a) of the FTC Act and the TSR. In addition, Defendants were

    unjustly enriched as a result of their unlawful acts or practices. Absent injunctive relief by

    this Court, Defendants are likely to continue to injure consumers, reap unjust enrichment, and

    harm the public interest.

                          THIS COURT’S POWER TO GRANT RELIEF

           69.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to

    grant injunctive and such other relief as the Court may deem appropriate to halt and redress

    violations of any provision of law enforced by the FTC. The Court, in the exercise of its
    equitable jurisdiction, may award ancillary relief, including rescission or reformation of

    contracts, restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to

    prevent and remedy any violation of any provision of law enforced by the FTC.

           70.     Section 19 of the FTC Act, 15 U.S.C. § 57b, and Section 6(b) of the

    Telemarketing Act, 15 U.S.C. § 6105(b), authorize this Court to grant such relief as the Court

    finds necessary to redress injury to consumers resulting from Defendants’ violation of the

    TSR, including rescission and reformation of contracts, and the refund of money.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Federal Trade Commission, pursuant to Section 13(b) and

    19 of the FTC Act, 15 U.S.C. § 53(b) and 57b, and Section 6(d) of the Telemarketing Act, 15

    U.S.C. § 6105(b), and the Court’s own equitable powers, requests that the Court:

           1.      Award Plaintiff such preliminary injunctive and ancillary relief as may be

    necessary to avert the likelihood of consumer injury during the pendency of this action and to

    preserve the possibility of effective final relief, including, but not limited to, temporary and

    preliminary injunctions, and an order freezing assets;

           2.      Enter a permanent injunction to prevent future violations of the FTC Act, the

    Telemarketing Act, and the TSR by Defendants;


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           3.      Award such relief as the Court finds necessary to redress injury to consumers

    resulting from the Defendants’ violations of the FTC Act, the Telemarketing Act, and the

    TSR, including, but not limited to, rescission or reformation of contracts, restitution, the

    refund of monies paid, and the disgorgement of ill-gotten monies;

           4.      Award Plaintiff the costs of bringing this action, as well as any other equitable

    relief that the Court may determine to be just and proper.



    Dated: May 6, 2015                            Respectfully submitted,


                                                  JONATHAN E. NUECHTERLEIN
                                                  General Counsel

                                                  S/THOMAS M. BIESTY_____
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